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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

 LINDA M. CYR,

                Plaintiff,

        v.
                                                     Civil Action No. 18-
 GENERAL MOTORS, LLC,

                Defendant.

                             PLAINTIFF’S COMPLAINT

   COMES NOW, Linda M. Cyr (hereinafter referred to as “Plaintiff”), and

respectfully files this Complaint against General Motors, LLC, (hereinafter

referred to as “Defendant”), and in support hereof would state and show the

following:

                                       I. Parties

   1.    Plaintiff Linda Cyr is an individual and she resides in and is a citizen of

Madawaska, Maine.

   2.    Defendant General Motors, LLC is a Delaware limited liability company

with its principal place of business in Michigan. Its sole member is General

Motors Holdings LLC, a Delaware limited liability company with its principal

place of business in Michigan. General Motors Holdings LLC’s sole member is

General Motors Company, a Delaware corporation its principal place of business

in Michigan. Service of process upon this Defendant may be had by serving its

registered agent for service, Corporate Service Company at 45 Memorial Circle,

Augusta, Maine 04330.

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                                    II. Jurisdiction

   3.    This Court has jurisdiction over the lawsuit under the provisions of 28

U.S.C. Section 1332.

   4.    The parties to this lawsuit are citizens of different states, and the matter

in controversy exceeds the sum or value of $75,000.00, exclusive of interest and

costs.

                                        III. Venue

   5.    Venue is proper in this District pursuant to 28 U.S.C. Section 1391(b)

because a substantial part of the events or omission giving rise to the claims

herein occurred in this District.

                                       IV. Facts

   6.    On or about July 19, 2016, Lyn M. Cyr was riding in a 2014 Chevrolet

Impala (VIN#2G1125S35E9293161) traveling southbound on Main Street/Route

1 in Van Buren, Maine. The Plaintiff’s husband, Kenneth Cyr, was operating the

subject vehicle.

   7.    The subject vehicle was designed by Defendant.

   8.    The subject vehicle was manufactured by Defendant.

   9.    The subject vehicle was also assembled and tested by Defendant.

   10. As the subject vehicle traveled southbound on Main Street, a 2013 GMC

Terrain, owned and operated by Linda Emond of Madawaska, Maine, was

traveling northbound on Main Street. Ms. Emond’s vehicle crossed over into the




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southbound lane, and although Mr. Cyr veered into the northbound lane to try

to avoid a collision, the vehicles collided in the northbound lanes.

   11. At the time of the accident, Linda M. Cyr was properly seated and

properly wearing the available seat belt.

   12. However, despite being properly seated and properly wearing the

available seat belt, Linda M. Cyr sustained serious injuries when the vehicle

failed to protect her because it violated several crashworthiness principles.

   13. There are five (5) recognized crashworthiness principles in the

automobile industry/throughout the world. They are as follows:

         1.    Maintain survival space;

         2.    Provide proper restraint throughout the entire accident;

         3.    Prevent ejection;

         4.    Distribute and channel energy; and

         5.    Prevent post-crash fires.

   14. When the National Highway Traffic Safety Administration (NHTSA)

created the Federal Motor Vehicle Safety Standard (FMVSS) in the late 1960’s,

the preamble to the safety standards included a crashworthiness definition

similar to that used above, “that the public is protected against unreasonable

risk of crashes occurring as a result of the design, construction, or performance

of motor vehicles and is also protected against unreasonable risk of death or

injury in the event crashes do occur.”

   15. The National Transportation Safety Board (NTSB) has also stated that,

“Vehicle crashworthiness refers to the capacity of a vehicle to protect its


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occupants from crash forces. This protection—which is achieved, in part, by

vehicle structure—includes maintaining a survival space around the occupant,

retaining the occupant within that space, and reducing the forces applied to the

occupant.”

   16. Crashworthiness safety systems in a vehicle must work together like

links in a safety chain. If one link fails, the whole chain fails.

   17. Vehicle manufacturers have known for decades and have admitted under

oath that there is a distinction between the cause of an accident versus the cause

of an injury.

   18. Indeed,          vehicle   manufacturers   have   known   for   decades   that

crashworthiness is the science of preventing or minimizing injuries or death

following an accident through the use of a vehicle’s various safety systems.

   19. Lee Iacocca, former President of Ford Motor Company stated, while

President and CEO of Chrysler, that “Every American has the right to a safe

vehicle.”

   20. General Motors has stated in the past that, “The rich don’t deserve to be

safer … Isn’t it time we realized safety is not just for the pampered and the

privileged? Safety is for all.”

   21. Volvo has stated that it has a goal that no one is killed or injured in a

Volvo vehicle by the year 2020. Volvo has also stated that, “Technologies for

meeting the goal of zero injuries and fatalities are basically known today – it is a

matter of how to apply, finance, distribute and activate.”

   22. Because every American has the right to a safe vehicle, because safety is


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for all, and because technologies for meeting the goal of zero injuries and

fatalities are basically known today, it is incumbent upon auto manufacturers

to investigate and find out what other automakers are doing with regards to

safety and to apply those same methods or technology to their own vehicle.

   23. Furthermore, an automaker cannot choose to use safer technology in

Europe, Australia, Japan, or some other country and refuse or fail to offer that

same safety technology to consumers in America.

   24. While there are minimum performance standards which an automaker

is supposed to meet before selling a vehicle in the United States (the FMVSS),

these minimum performance standards do not adequately protect the public.

   25. Indeed, Joan Claybrook, former administrator of the NHTSA, wrote a

letter to major auto makers where she said, “Our federal safety standards are

and were intended by Congress to be minimum standards. The tragedy is that

many manufacturers have treated the standards more like ceilings on safety

performance rather than floors from which to improve safety.”

   26. Additionally, in September of 2014, a Congressional report was issued in

response to the General Motors ignition switch recall. The report questioned

whether NHTSA had the technical expertise, culture and analytic tools needed

to address safety issues. The report stated, “NHTSA also lacked the focus and

rigor expected of a federal safety regulator”. It was also stated that NHTSA staff

has a “lack of knowledge and awareness regarding the evolution of vehicle safety

systems they regulate.”




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                                V. Strict Product Liability

   27. Plaintiff        incorporates   by   reference   the   allegations   contained   in

paragraphs 1 – 26 as though set out hereafter in full.

   28. It was entirely foreseeable and well-known by, Defendant that accidents

and incidents involving their vehicles, such as occurred herein, would on

occasion take place during the normal and ordinary use of said vehicle.

   29. The serious injuries complained of occurred because the vehicle in

question was not reasonably crashworthy, and was not reasonably fit for

unintended, but clearly foreseeable, accidents. The vehicle in question was in a

defective condition, unreasonably dangerous to the user.

   30. Defendant, either alone or in conjunction with some other individual(s)

and/or entity(ies), designed, manufactured, marketed, assembled, and/or tested

said vehicle in question.

   31. As detailed herein, the vehicle contains and/or Defendant General

Motors, LLC has committed either design, manufacturing, marketing, assembly,

and/or testing defects.

   32. The defect(s) existed at the time Defendant General Motors, LLC sold the

vehicle.

   33. The vehicle reached the user without significant change in the condition

in which it was sold.

   34. The vehicle was being used in a manner reasonably foreseeable by the

Defendant General Motors, LLC.




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   35. Defendant either knew or should have known of at least one safer

alternative design which would have prevented the serious injuries to Linda M.

Cyr.

   36. The design, manufacturing, marking, assembling, and/or testing defects

by General Motors, LLC caused and contributed to Linda M. Cyr’s serious

injuries.

   37. In addition to the foregoing, Defendant, either alone or in conjunction

with some other individual(s) and/or entity(ies), designed, manufactured,

marketed, assembled, and/or tested said vehicle in question to be unreasonably

dangerous and defective within the meaning of Section 402(A) Restatement

(Second) Torts, in that the vehicle was unreasonably dangerous as designed,

manufactured, assembled, marketed, and/or tested because Defendant knew

and/or should have known of the following, non-exhaustive list of defects:

            a. The vehicle failed to provide proper protection;
            b. The vehicle failed to provide proper protection in narrow,
               frontal offset, moderate offsets or oblique/angled impacts;
            c. The vehicle failed to utilize UHSS, AHSS, boron, martensite,
               ferrite, complex phase, dual phase or TRIP steel in the
               following areas: safety cage, cross bar, underbody, header,
               pillars, side rails, cant rails, door ring, occupant
               compartment zone, occupant survival space;
            d. The vehicle failed to utilize MPa rated steel in the safety cage
               area of at least 1100;
            e. The vehicle failed to properly channel, distribute and
               dissipate crash forces away from the safety cage;
            f. The vehicle failed to maintain the survival space;
            g. The vehicle failed to provide reasonable occupant protection;
            h. The vehicle was not properly subjected to narrow, moderate
               and oblique frontal offset testing;



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           i. The vehicle was not subjected to crash testing with 95th
              percentile dummies in actual crash testing;
           j. The vehicle failed to utilize frontal offset countermeasures;
           k. The vehicle was not subjected to rigorous engineering
              analysis;
           l. The vehicle lacked safer alternative designs that other
              vehicle that cost even less utilize;
           m. The vehicle violated principles of crashworthiness;
           n. The vehicle’s knee bag failed to act as a system with the
              structure and other restrain systems; and
           o. The defects and negligence were the producing, direct,
              substantial and proximate cause of the serious injuries and
              damages.

   38.      The defects were a substantial, legal, proximate, and direct cause of

the Plaintiff’s injuries and damages.


       WHEREFORE, Plaintiff demands judgment against the Defendant in an

amount sufficient to fairly and reasonably compensate her for all past and future

injuries and damages; plus Plaintiff’s costs and interest thereon.

                                       VI. Negligence

   39. Plaintiff        incorporates   by   reference   the   allegations   contained   in

paragraphs 1 - 38 as though set out hereafter in full.

   40. Defendant General Motors, LLC owed a duty of care to Plaintiff to design,

manufacture, assemble, market, and/or test the subject vehicle in a reasonably

safe and prudent manner.

   41. Defendant breached its duty of care.




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   42. In designing a vehicle, efforts should be made by manufacturers to

identify potential risks, hazards, and/or dangers that can lead to serious injury

or death;

   43. Once potential risks, hazards, and/or dangers are identified, then the

potential risks, hazards, or dangers should be eliminated if possible.

   44. If the potential risks, hazards, and/or dangers can’t be eliminated, then

they should be guarded against.

   45. If the potential risks, hazards, and/or dangers can’t be eliminated or

guarded against, they should at least be warned about.

   46. A company that does not conduct a proper engineering analysis that

would help it to identify potential risks, hazards, and/or dangers that could

seriously injure someone is negligent.

   47. Based upon information and/or belief, Defendant either used or knew

about advanced features used in Europe, Australia, Japan and some other

country and chose not to offer those safety features to American consumers.

   48. Defendant’s occupant protection philosophy and design philosophy are

utilized in various model vehicles, including ones sold overseas in other markets.

   49. When Defendant designed the subject vehicle, it did not reinvent the

wheel. Defendant used an enormous amount of human capital which had been

acquired from numerous different engineers which had worked on many prior

vehicle. This knowledge would have been utilized in different aspects of the

various designs of the subject vehicle.




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   50. Defendant is currently in exclusive possession and control of all the

technical materials and other documents regarding the design, manufacture,

and testing of the vehicle in question. Defendant is also in possession of what, if

any, engineering analysis was performed.

   51. However, it is expected that after all of these materials are produced in

discovery and/or after Defendant’s employees and corporate representatives

have been deposed, additional allegations may come to light.

   52. Lastly, the materials from other models, years, and countries will provide

evidence regarding what Defendant knew, when it knew it, and about what was

utilized or not utilized as well as the reasons why.

   53. The foregoing acts and/or omissions, breach of duty, design and/or

manufacturing defects, and/or negligence of Defendant were the producing,

direct, proximate, and/or legal cause of the Plaintiff’s serious injuries and

damages.

         WHEREFORE, Plaintiff demands judgment against the Defendant in an

amount sufficient to fairly and reasonably compensate her for all past and

future damages; plus Plaintiff’s costs and interest thereon.

                           VII. Damages to Plaintiff

   54. Plaintiff hereby re-states and re-alleges each and every allegation

contained in paragraphs 1 – 53 herein as though set out hereafter in full.

   55. As a direct and proximate result of the acts and/or omissions of

Defendant, Linda M. Cyr has endured pain and suffering, impairment, mental

anguish, emotional distress, disfigurement, interference with her daily activities

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and a reduced capacity to enjoy life as a result of her injuries.

   56. As a direct and proximate result of the acts and/or omissions of

Defendant, Linda M. Cyr has become obligated to pay extensive medical expenses

as a result of her injuries.

   57. Therefore, as a direct and proximate result of Defendant’s acts and

omissions, Plaintiff seeks all elements of damages available to her under Maine

and Federal Law, including, but not limited to: medical costs, both past and

future; pain and suffering; extreme emotional distress and mental anguish; loss

of enjoyment of life; and out of pocket expenses.

   58. The above and foregoing acts and/or omissions of the Defendant,

resulting in the serious injuries to Linda M. Cyr, have caused actual damages to

Plaintiff in excess of the minimum jurisdictional limits of this Court.

                                   VIII. Prayer

   59. For the reasons presented herein, Plaintiff prays that Defendant be cited

to appear and answer, and that upon a final trial of this cause, Plaintiff recovers

judgment against Defendant for:

         a.    actual damages;
         b.    economic and non-economic damages;
         c.    prejudgment and post-judgment interest beginning June
               20, 2017;
         d.    costs of suit; and




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         e.    all other relief, general and special, to which Plaintiff is
               entitled to at law and/or in equity, and/or which the Court
               deems proper.



DATED: August 31, 2018                       Respectfully submitted,

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